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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

    1. Renee Eilene Johnson,                    )
                                                )
                  Plaintiff,                    )
                                                )
        v.                                      ) Case No.: 23-CV-169-CVE-CDL
                                                )
    1. PC Woodland Manor, LLC, an               )
       Oklahoma        foreign      liability   )
       company,                                 )
    2. Bridge Property Management,              )
       LLC, An Oklahoma foreign limited         )
       liability company,                       )
    3. RPM Living, LLC, an Oklahoma             )
       registered foreign Limited Liability     )
       Company,                                 )
    4. Vesta Realty, LLC, and Oklahoma          )
       foreign limited liability company,       )
                                                )
    5. Woodland Manor’s Best Living,            )
       LLC, an Oklahoma foreign limited         )
       liability company,                       )
    6. Skylar Rae Mosby-Gudmundsson,            )
       in her capacity as agent for the         )
       corporate entities and in her            )
       individual capacity,                     )
    7. Woodland manor TIC 1, LLC, an            )
       Oklahoma foreign limited liability       )
       company,                                 )
    8. Varia US Tulsa, LLC, a Delaware          )
       Limited Liability Company,               )
                                                )
    9. Varia US Holdings, LLC, a                )
        Delaware     Limited     Liability      )
        Company,                                )
    10. Varia    US    Properties    AG,        )
        Switzerland, a Swiss real estate        )
        company,                                )
    11. Stoneweg Group, a Geneva,               )
        Switzerland based international         )
                                                )
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        real estate and investment             )
        management firm,                       )
    12. Stoneweg Investments, LLC, a           )
        Delaware    Limited   Liability        )
        Company,                               )
    13. Stoneweg US employees, LLC, a          )
        Delaware    Limited   Liability        )
        Company,                               )
                                               )
                   Defendants.                 )

                    DEFENDANT PC WOODLAND MANOR, LLC’S
                  ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

          COMES NOW, Defendant PC Woodland Manor, LLC (Defendant or “PCWM”),

   and for its Answer to Plaintiff’s Amended Complaint (as corrected and filed on September

   14, 2023)[Docket No. 56] states as follows.

          1.     Defendant admits the statement contained in paragraph 1 of Plaintiff’s

   Amended Complaint.

          2.     Defendant admits Plaintiff is alleging the claims identified in paragraph 2 of

   Plaintiff’s Amended Complaint, but denies that such claims have merit or that Plaintiff is

   entitled to relief on any claim.

          3.     Defendant denies the allegations contained in paragraph 3 of Plaintiff’s

   Amended Complaint.

          4.     Defendant denies the allegations contained in paragraph 4 of Plaintiff’s

   Amended Complaint.

          5.     Defendant denies the allegations contained in paragraph 5 of Plaintiff’s

   Amended Complaint.



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          6.     Defendant denies the allegations contained in paragraph 6 of Plaintiff’s

   Amended Complaint.

          7.     Defendant denies the allegations contained in paragraph 7 of Plaintiff’s

   Amended Complaint.

          8.     Defendant admits the allegations contained in paragraph 8 of Plaintiff’s

   Amended Complaint for jurisdictional purposes only.

          9.     Defendant denies the allegations contained in paragraph 9 of Plaintiff’s

   Amended Complaint.

          10.    Defendant admits that venue is proper in this judicial district. The remaining

   allegations of this paragraph are denied.

          11.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 11 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

          12.    Defendant denies the allegations contained in the second paragraph 111 of

   Plaintiff’s Amended Complaint.

          13.    Defendant denies the allegations contained in paragraph 12 of Plaintiff’s

   Amended Complaint.

          14.    Defendant denies the allegations contained in paragraph 13 of Plaintiff’s

   Amended Complaint.




   1
    Plaintiff’s Amended Complaint erroneously contains two consecutive paragraphs numbered 11,
   presumably due to inadvertence and/or mistake. This response is directed to the second paragraph
   numbered 11, with Defendant’s remaining responses proceeding in correct numerical order.
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        15.   Defendant denies the allegations contained in paragraph 14 of Plaintiff’s

   Amended Complaint.

        16.   Defendant denies the allegations contained in paragraph 15 of Plaintiff’s

   Amended Complaint.

        17.   Defendant denies the allegations contained in paragraph 16 of Plaintiff’s

   Amended Complaint.

        18.   Defendant denies the allegations contained in paragraph 17 of Plaintiff’s

   Amended Complaint.

        19.   Defendant denies the allegations contained in paragraph 18 of Plaintiff’s

   Amended Complaint.

        20.   Defendant denies the allegations contained in paragraph 19 of Plaintiff’s

   Amended Complaint.

        21.   Defendant denies the allegations contained in paragraph 20 of Plaintiff’s

   Amended Complaint.

        22.   Defendant denies the allegations contained in paragraph 21 of Plaintiff’s

   Amended Complaint.

        23.   Defendant denies the allegations contained in paragraph 22 of Plaintiff’s

   Amended Complaint.

        24.   Defendant denies the allegations contained in paragraph 23 of Plaintiff’s

   Amended Complaint.

        25.   Defendant denies the allegations contained in paragraph 24 of Plaintiff’s

   Amended Complaint.

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        26.   Defendant denies the allegations contained in paragraph 25 of Plaintiff’s

   Amended Complaint.

        27.   Defendant denies the allegations contained in paragraph 26 of Plaintiff’s

   Amended Complaint.

        28.   Defendant denies the allegations contained in paragraph 27 of Plaintiff’s

   Amended Complaint.

        29.   Defendant admits the allegations contained in paragraph 28 of Plaintiff’s

   Amended Complaint.

        30.   Defendant denies the allegations contained in paragraph 29 of Plaintiff’s

   Amended Complaint.

        31.   Defendant denies the allegations contained in paragraph 30 of Plaintiff’s

   Amended Complaint.

        32.   Defendant admits the allegations contained in paragraph 31 of Plaintiff’s

   Amended Complaint.

        33.   Defendant admits the allegations contained in paragraph 32 of Plaintiff’s

   Amended Complaint.

        34.   Defendant denies the allegations contained in paragraph 33 of Plaintiff’s

   Amended Complaint.

        35.   Defendant denies the allegations contained in paragraph 34 of Plaintiff’s

   Amended Complaint.

        36.   Defendant denies the allegations contained in paragraph 35 of Plaintiff’s

   Amended Complaint.

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         37.    Defendant denies the allegations contained in paragraph 36 of Plaintiff’s

   Amended Complaint.

         38.    Defendant denies the allegations contained in paragraph 37 of Plaintiff’s

   Amended Complaint.

         39.    Defendant denies the allegations contained in paragraph 38 of Plaintiff’s

   Amended Complaint.

         40.    Defendant denies the allegations contained in paragraph 39 of Plaintiff’s

   Amended Complaint.

         41.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 40 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         42.    Defendant denies the allegations contained in paragraph 41 of Plaintiff’s

   Amended Complaint.

         43.    Defendant denies the allegations contained in paragraph 42 of Plaintiff’s

   Amended Complaint.

         44.    Defendant denies the allegations contained in paragraph 43 of Plaintiff’s

   Amended Complaint.

         45.    Defendant admits the allegations contained in paragraph 44 of Plaintiff’s

   Amended Complaint upon information and belief.

         46.    Paragraph 45 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.



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         47.    Paragraph 46 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         48.    Paragraph 47 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         49.    Paragraph 48 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         50.    Defendant denies the allegations contained in paragraph 49 of Plaintiff’s

   Amended Complaint.

         51.    Defendant denies the allegations contained in paragraph 50 of Plaintiff’s

   Amended Complaint.

         52.    Defendant denies the allegations contained in paragraph 51 of Plaintiff’s

   Amended Complaint.

         53.    Defendant denies the allegations contained in paragraph 52 of Plaintiff’s

   Amended Complaint, and therefore denies the same.

         54.    Defendant denies the allegations contained in paragraph 53 of Plaintiff’s

   Amended Complaint.

         55.    Defendant denies the allegations contained in paragraph 54 of Plaintiff’s

   Amended Complaint.

         56.    Defendant denies the allegations contained in paragraph 55 of Plaintiff’s

   Amended Complaint.




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         57.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 56 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         58.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 57 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         59.    Defendant admits the allegations contained in paragraph 58 of Plaintiff’s

   Amended Complaint upon information and belief.

         60.    Defendant denies the allegations contained in paragraph 59 of Plaintiff’s

   Amended Complaint upon information and belief.

         61.    Defendant denies the allegations contained in paragraph 60 of Plaintiff’s

   Amended Complaint.

         62.    Defendant denies the allegations contained in paragraph 61 of Plaintiff’s

   Amended Complaint.

         63.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 62 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         64.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 63 of Plaintiff’s Amended Complaint, and therefore

   denies the same.




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         65.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 64 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         66.    Defendant denies the allegations contained in paragraph 65 of Plaintiff’s

   Amended Complaint.

         67.    Defendant denies the allegations contained in paragraph 66 of Plaintiff’s

   Amended Complaint.

         68.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in the second paragraph 67 of Plaintiff’s Amended Complaint,

   and therefore denies the same.

         69.    Defendant denies the allegations contained in paragraph 68 of Plaintiff’s

   Amended Complaint.

         70.    Defendant denies the allegations contained in paragraph 69 of Plaintiff’s

   Amended Complaint.

         71.    Defendant denies the allegations contained in paragraph 70 of Plaintiff’s

   Amended Complaint.

         72.    Defendant denies the allegations contained in paragraph 71 of Plaintiff’s

   Amended Complaint.

         73.    Defendant denies the allegations contained in paragraph 72 of Plaintiff’s

   Amended Complaint.

         74.    Defendant denies the allegations contained in paragraph 73 of Plaintiff’s

   Amended Complaint.

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         75.    Defendant denies the allegations contained in paragraph 74 of Plaintiff’s

   Amended Complaint.

         76.    Defendant denies the allegations contained in paragraph 75 of Plaintiff’s

   Amended Complaint.

         77.    Defendant denies the allegations contained in paragraph 76 of Plaintiff’s

   Amended Complaint.

         78.    Defendant denies the allegations contained in paragraph 77 of Plaintiff’s

   Amended Complaint.

         79.    Defendant denies the allegations contained in paragraph 78 of Plaintiff’s

   Amended Complaint.

         80.    Defendant denies the allegations contained in paragraph 79 of Plaintiff’s

   Amended Complaint.

         81.    Defendant denies the allegations contained in paragraph 80 of Plaintiff’s

   Amended Complaint.

         82.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 81 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         83.    Defendant denies the allegations contained in paragraph 82 of Plaintiff’s

   Amended Complaint.

         84.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 83 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

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         85.    Defendant denies the allegations contained in paragraph 84 of Plaintiff’s

   Amended Complaint.

         86.    Defendant denies the allegations contained in paragraph 85 of Plaintiff’s

   Amended Complaint.

         87.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 86 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         88.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 87 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         89.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 88 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         90.    Defendant denies the allegations contained in paragraph 89 of Plaintiff’s

   Amended Complaint.

         91.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 90 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         92.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 91 of Plaintiff’s Amended Complaint, and therefore

   denies the same.



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         93.    Defendant denies the allegations contained in paragraph 92 of Plaintiff’s

   Amended Complaint.

         94.    Defendant denies the allegations contained in paragraph 93 of Plaintiff’s

   Amended Complaint.

         95.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 94 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         96.    Defendant denies the allegations contained in paragraph 95 of Plaintiff’s

   Amended Complaint.

         97.    Defendant denies the allegations contained in paragraph 96 of Plaintiff’s

   Amended Complaint.

         98.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 97 of Plaintiff’s Amended Complaint, and therefore

   denies the same.

         99.    Defendant denies the allegations contained in paragraph 98 of Plaintiff’s

   Amended Complaint.

         100.   Defendant denies the allegations contained in paragraph 99 of Plaintiff’s

   Amended Complaint.

         101.   Defendant denies the allegations contained in paragraph 100 of Plaintiff’s

   Amended Complaint.




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         102.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 101 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         103.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 102 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         104.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 103 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         105.   Defendant denies the allegations contained in paragraph 104 of Plaintiff’s

   Amended Complaint.

         106.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 105 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         107.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 106 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         108.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 107 of Plaintiff’s Amended Complaint, and

   therefore denies the same.




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         109.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 108 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         110.   Defendant denies the allegations contained in paragraph 109 of Plaintiff’s

   Amended Complaint.

         111.   Defendant denies the allegations contained in paragraph 110 of Plaintiff’s

   Amended Complaint.

         112.   Defendant denies the allegations contained in paragraph 111 of Plaintiff’s

   Amended Complaint.

         113.   Defendant denies the allegations contained in paragraph 112 of Plaintiff’s

   Amended Complaint.

         114.   Defendant denies the allegations contained in paragraph 113 of Plaintiff’s

   Amended Complaint.

         115.   Defendant denies the allegations contained in paragraph 114 of Plaintiff’s

   Amended Complaint.

         116.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 115 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         117.   Defendant denies the allegations contained in paragraph 116 of Plaintiff’s

   Amended Complaint.




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          118.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 117 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

          119.   Defendant admits the allegations contained in paragraph 118 of Plaintiff’s

   Amended Complaint.

          120.   Defendant admits the allegations contained in paragraph 119 of Plaintiff’s

   Amended Complaint.

         121.    Defendant admits the allegations contained in paragraph 120 of Plaintiff’s

   Amended Complaint.

         122.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 121 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         123.    Defendant denies the allegations contained in paragraph 122 of Plaintiff’s

   Amended Complaint.

         124.    Defendant admits that Plaintiff’s counsel filed a HUD complaint, but denies

   that Plaintiff faced or was exposed to any discrimination due to her alleged disability, or

   otherwise.

         125.    Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 124 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         126.    Defendant admits the allegations contained in paragraph 125 of Plaintiff’s

   Amended Complaint.

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         127.   Defendant denies the allegations contained in paragraph 126 of Plaintiff’s

   Amended Complaint.

         128.   Defendant denies the allegations contained in paragraph 127 of Plaintiff’s

   Amended Complaint.

         129.   Defendant admits the allegations contained in paragraph 128 of Plaintiff’s

   Amended Complaint.

         130.   Defendant admits the allegations contained in paragraph 129 of Plaintiff’s

   Amended Complaint.

         131.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 130 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         132.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 131 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         133.   Defendant admits the allegations contained in paragraph 132 of Plaintiff’s

   Amended Complaint upon information and belief.

         134.   Defendant admits the allegations contained in paragraph 133 of Plaintiff’s

   Amended Complaint.

         135.   Defendant admits the allegations contained in paragraph 134 of Plaintiff’s

   Amended Complaint upon information and belief.

         136.   Defendant admits the allegations contained in paragraph 135 of Plaintiff’s

   Amended Complaint upon information and belief.

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         137.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 136 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         138.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 137 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         139.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 138 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         140.   Defendant denies the allegations contained in paragraph 139 of Plaintiff’s

   Amended Complaint.

         141.   Defendant denies the allegations contained in paragraph 140 of Plaintiff’s

   Amended Complaint.

         142.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 141 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         143.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 142 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         144.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 143 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

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         145.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 144 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         146.   Defendant denies the allegations contained in paragraph 145 of Plaintiff’s

   Amended Complaint.

         147.   Defendant denies the allegations contained in paragraph 146 of Plaintiff’s

   Amended Complaint.

         148.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 147 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         149.   Defendant denies the allegations contained in paragraph 148 of Plaintiff’s

   Amended Complaint.

         150.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 149 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         151.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 150 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         152.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 151 of Plaintiff’s Amended Complaint, and

   therefore denies the same.



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         153.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 152 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         154.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 153 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         155.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 154 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         156.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 155 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         157.   Defendant denies the allegations contained in paragraph 156 of Plaintiff’s

   Amended Complaint.

         158.   Defendant denies the allegations contained in paragraph 157 of Plaintiff’s

   Amended Complaint.

         159.   Defendant denies the allegations contained in paragraph 158 of Plaintiff’s

   Amended Complaint.

         160.   Defendant denies the allegations contained in paragraph 159 of Plaintiff’s

   Amended Complaint.

         161.   Defendant repeats paragraphs 1-160 above, as if fully set forth herein.



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         162.   Defendant denies the allegations contained in paragraph 161 of Plaintiff’s

   Amended Complaint.

         163.   Defendant repeats paragraphs 1-162 above, as if fully set forth herein.

         164.   Defendant denies the allegations contained in paragraph 163 of Plaintiff’s

   Amended Complaint.

         165.   Defendant repeats paragraphs 1-164 above, as if fully set forth herein.

         166.   Defendant repeats paragraphs 1-165 above, as if fully set forth herein.

         167.   Defendant denies the allegations contained in paragraph 166 of Plaintiff’s

   Amended Complaint.

         168.   Defendant denies the allegations contained in paragraph 167 of Plaintiff’s

   Amended Complaint.

         169.   Defendant denies the allegations contained in paragraph 168 of Plaintiff’s

   Amended Complaint.

         170.   Defendant denies the allegations contained in paragraph 169 of Plaintiff’s

   Amended Complaint.

         171.   Defendant denies the allegations contained in paragraph 170 of Plaintiff’s

   Amended Complaint.

         172.   Defendant denies the allegations contained in paragraph 171 of Plaintiff’s

   Amended Complaint.

         173.   Defendant repeats paragraphs 1-172 above, as if fully set forth herein.

         174.   Paragraph 173 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

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         175.   Defendant denies the allegations contained in paragraph 174 of Plaintiff’s

   Amended Complaint.

         176.   Defendant denies the allegations contained in paragraph 175 of Plaintiff’s

   Amended Complaint.

         177.   Paragraph 176 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         178.   Paragraph 177 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         179.   Defendant denies the allegations contained in paragraph 178 of Plaintiff’s

   Amended Complaint.

         180.   Paragraph 179 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         181.   Paragraph 180 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         182.   Paragraph 181 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         183.   Defendant denies the allegations contained in paragraph 182 of Plaintiff’s

   Amended Complaint.

         184.   Defendant repeats paragraphs 1-183 above, as if fully set forth herein.

         185.   Defendant denies the allegations contained in paragraph 184 of Plaintiff’s

   Amended Complaint.



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         186.   Defendant denies the allegations contained in paragraph 185 of Plaintiff’s

   Amended Complaint.

         187.   Paragraph 186 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         188.   Defendant denies the allegations contained in paragraph 187 of Plaintiff’s

   Amended Complaint.

         189.   Defendant denies the allegations contained in paragraph 188 of Plaintiff’s

   Amended Complaint.

         190.   Defendant denies the allegations contained in paragraph 189 of Plaintiff’s

   Amended Complaint.

         191.   Defendant repeats paragraphs 1-190 above, as if fully set forth herein.

         192.   Paragraph 191 does not contain any factual allegations, but only legal

   conclusions that need not be answered here.

         193.   Defendant is without sufficient information to form a belief as to the truth of

   the allegations contained in paragraph 192 of Plaintiff’s Amended Complaint, and

   therefore denies the same.

         194.   Defendant denies the allegations contained in paragraph 193 of Plaintiff’s

   Amended Complaint.

         195.   Defendant denies the allegations contained in paragraph 194 of Plaintiff’s

   Amended Complaint.

         196.   Defendant repeats paragraphs 1-195 above, as if fully set forth herein.



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         197.   Defendant denies the allegations contained in paragraph 196 of Plaintiff’s

   Amended Complaint.

         198.   Defendant denies the allegations contained in paragraph 197 of Plaintiff’s

   Amended Complaint.

         199.   Defendant denies the allegations contained in paragraph 198 of Plaintiff’s

   Amended Complaint.

         200.   Defendant repeats paragraphs 1-199 above, as fully set forth herein.

         201.   Defendant denies the allegations contained in paragraph 200 of Plaintiff’s

   Amended Complaint.

         202.   Defendant denies the allegations contained in paragraph 201 of Plaintiff’s

   Amended Complaint.

         203.   Defendant denies the allegations contained in paragraph 202 of Plaintiff’s

   Amended Complaint.

         204.   Defendant denies the allegations contained in paragraph 203 of Plaintiff’s

   Amended Complaint.

         205.   Defendant denies the allegations contained in paragraph 204 of Plaintiff’s

   Amended Complaint.

         206.   Defendant denies the allegations contained in paragraph 205 of Plaintiff’s

   Amended Complaint.

         207.   Defendant denies the allegations contained in paragraph 206 of Plaintiff’s

   Amended Complaint.



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          208.   Defendant denies the allegations contained in paragraph 207 of Plaintiff’s

   Amended Complaint.

                        AFFIRMATIVE AND OTHER DEFENSES

          209.   Plaintiff has failed to state any claim on which relief can be granted against

   Defendant PCWM.

          210.   PCWM is no longer the owner of the apartment complex referenced in

   Plaintiff’s Amended Complaint

          211.   Plaintiff has not suffered the damages alleged in her Amended Complaint.

          212.   The actions of Defendant PCWM do not warrant the imposition of punitive

   damages.

          213.   Plaintiff is not entitled to the monetary or injunctive relief requested in her

   Amended Complaint.

          214.   Defendant PCWM does not have the authority or ability to provide the

   accommodations requested in Plaintiff’s Amended Complaint.

          215.   On belief of Counsel, Plaintiff has failed to mitigate her damages, if any.

          WHEREFORE, having fully answered the Amended Complaint, Defendant PC

   Woodland Manor, LLC prays that this action be dismissed, for an award of costs and

   expenses incurred herein, and for such other and further relief as this Court deems just and

   proper.




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                                      Respectfully submitted,


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                                CERTIFICATE OF SERVICE

          I hereby certify that on September 28, 2023, I electronically transmitted the attached
   document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
   of Electronic Filing to the following registrants:

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                                             s/Nathan L. Whatley
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